         Case 8:17-cv-02748-TDC Document 25 Filed 11/13/17 Page 1 of 2



                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF MARYLAND

            .
THOMAS ALSTON,

       Plaintiff,

       v.

ABC FINANCIAL SERVICES, INC.,                                   Civil Action No. TDC-17-2748
LMD GYMS, LLC,
GBG, INC., and
GOLD'S GYM INTERNATIONAL, INC.,

       Defendants.




                                                    ORDER

       On July 28, 2017, Plaintiff Thomas Alston filed a class action Complaint against the

Defendants in the Circuit Court of Prince George's County, Maryland.              ECF No.2.     Alston's

Complaint alleged one federal cause of action and two causes of action under Maryland law. Id.

Defendants removed the case to this Court on September 15, 2017, stating that this Court had

original jurisdiction over the federal claim under 28 U.S.C.      S   1331 and supplemental jurisdiction

over the state law claims under 28 U.S.c.       S   1367. ECF No.1.   On October 10,2017, Alston filed

an Amended Complaint in which he dropped the class action claims. ECF No. 19. Defendants

then filed a Motion to Dismiss on October 19, 2017.             ECF No. 20. On November 3, 2017,

Alston responded to the Motion by filing a Second Amended Complaint that no longer alleges a

federal cause of action. ECF No. 22.

       A federal court has broad discretion to return a case to state court when all federal causes

of action have been eliminated.         See Carnegie-Mellon Univ., 484 U.S. 343, 349-50 (1988); see

also 28 U.S.c.      S   1367(c)(3) (2012) ("(TJhe district courts may decline to exercises supplemental
         Case 8:17-cv-02748-TDC Document 25 Filed 11/13/17 Page 2 of 2



jurisdiction over a claim ...     [if] the district court has dismissed all claims over which is has

original jurisdiction").   The United States Court of Appeals for the Fourth Circuit has expressed

a "strong preference that state law issues be left to state courts in the absence of diversity or

federal question jurisdiction."    Arrington v. City of Raleigh, 369 F. App'x. 420, 423 (4th Cir.

2010). Alston's remaining state law claims do not satisfy the amount in controversy requirement

of $75,000 for diversity jurisdiction.     The Court finds that the values of judicial economy,

convenience,    fairness, and comity all weigh in favor of declining to continue to exercise

jurisdiction over this case.

        Accordingly, it is hereby ORDERED that:

        1. The Motion to Dismiss, ECF No. 20, is DISMISSED AS MOOT.

        2. This action is REMANDED            to the Circuit Court for Prince George's      County,

            Maryland.

        3. The Clerk is directed to CLOSE this case.

        4. The Clerk shall MAIL a copy of this Order to Alston.




Date: November     l3..-, 2017                       ~E --
                                                      ;9.-
                                                       THEODORED.C~UA~
                                                       United States District Judge
